                UNITED STATES DISTRICT COURT
                      DISTRICT OF DELAWARE
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BATTAGLIA MANAGEMENT, :
INC.,                          :
                               :
               Plaintiff,      :
v.                             :   Civ. Act. No. 1:23-cv-615-GBW
                               :
KRISTINA ABRAMOWICZ, et al. :
                               :
               Defendants.     :
                               :

      DECLARATION OF MICHAEL C. GOELLER IN SUPPORT OF
       DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR
  TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

       1.     My name is Michael C. Goeller. I am over 18 years of age and otherwise

competent to make this declaration in support of Defendants’ Response to Plaintiff’s

Motion for Temporary Restraining Order and Preliminary Injunction herein.             This

declaration is based upon my personal knowledge and inquiries I have made with other

colleagues and in corporate records. I would be able to testify as to each matter discussed

herein if called as a witness with respect to Plaintiff’s Motion.

       2.     I am employed by Hatzel & Buehler, Inc. (“H&B”), as its Vice President. In

this capacity I have responsibility for day-to-day operations within the company.

       3.     I have read the allegations of the Plaintiff, Battaglia Management, Inc.

(“Battaglia”) set forth in the Complaint in this action and in its pending Motion.

       4.     Contrary to the allegations in the Complaint, H&B has never requested, seen

the contents of, discussed, received, or sought to obtain, in any way, the four documents


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described in the Complaint that our present employee, Kristina Abramowicz, apparently

forwarded to her personal E-mail while working from home for Battaglia, her prior

employer (the “Forwarded Documents”).

       5.     Ms. Abramowicz was hired by H&B because of her experience and general

knowledge as a payroll manager and human resources specialist. H&B has never discussed

with her practices, procedures, or information relating to Battaglia, or made any request of

her to discuss such practices, procedures and information. Since the filing of the present

action, H&B has reiterated to Ms. Abramowicz that it does not seek such information.

       6.     Neither I nor any other officer, director, employee, agent or representative of

H&B has, or has ever possessed, or had in his or her control or custody, the Forwarded

Documents or their contents.

       7.     Neither I nor any other officer, director, employee, agent or representative of

H&B has solicited, possessed, or used any confidential or proprietary information of

Battaglia at any time, for any purpose.

       8.     Based on my experience, to the extent that former employees of Battaglia

have come to work for H&B, they have done so because H&B has offered them an

attractive work environment and good compensation and benefits.            Contrary to the

allegations in the Complaint, H&B has not engaged in “poaching” or unfair practices of

any sort in hiring.




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       This declaration is made pursuant to 28 U.S.C. § 1746. I declare under penalty of

perjury that the foregoing is true and correct. Executed on June 23, 2023.




                                             Michael C. Goeller




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                            CERTIFICATE OF SERVICE

      I hereby certify that on the 23rd day of June, 2023, I filed the foregoing Declaration

through the CM/ECF electronic filing system, which will cause a Notice of Electronic

Filing (NEF) to be served on counsel of record, as follows:

                              Emily A. Letchen, Esquire
                     Cohen Seglias Palles Greenhall & Furman, P.C.
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                             Wilmington, DE 19899-2306

                    Counsel for Plaintiff Battaglia Management, Inc.

                                  /s/ Alan D. Albert
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